                   Case 2:16-cv-02765-JLL-JAD Document 1-12 Filed 05/16/16 Page 1 of 1 PageID: 215
<£iJS44       (Re\     1104)
                                                                                                             CIVIL COVER SHEET
T h e JS 44 civil c o v e r s h e e t a n d the i n f o r m a t i o n c o n t a i n e d h e r e i n n e i t h e r r e p l a c e n o r s u p p l e m e n t t h e t i l i n g a n d s e r v i c e o f p l e a d m g s o r o t h e r p a p e r s a s r e q u i r e d by l a w , e x c e p t a s p r o v i d e d
b y local r u l e s o f c o u r t T h i s f o r m , a p p r o v e d b y t h e J u d i c i a l C o n f e r e n c e ot t h e U n i t e d S t a t e s in S e p t e m b e r 1 9 7 4 , is r e q u i r e d f o r t h e u s e o f t h e C l e r k o f C o u r t f o r t h e p u r p o s e o f i n i t i a t i n g
t h e civil d o c k e t s h e e t . (SHE INS F R l ' C T I O N S ON THL RHVERSE OF THE FORM )

 I. (a)          PLAINTIFFS                                                                                                                                    DEFENDANTS
David Zimand                                                                                                                                                   Volkswagen Aktiengesellschaft, Volkswagen Group of America,
                                                                                                                                                               Inc., Audi Aktiengesellschaft, and Audi of America, Inc.
      (b)      C o u n t y of R e s i d e n c e of First Listed Plaintiff                          Bergen                                                     C o u n t y o f R e s i d e n c e o f First Listed D e f e n d a n t
                                               ( E X C E P T IN U S PLAINTIFF C A S E S )                                                                                                                  (IN U S. PLAINTIFF CASES O N L Y )
                                                                                                                                                                          NOTE         IN L A N D C O N D E M N A T I O N CASES. USE T H E L OCATI ON OF THE
                                                                                                                                                                                        LAND INVOLVED


      (c)     A t t o r n e y ' s (Finn Name, Address, and Telephone Number)                                                                                    A t t o r n e y s (If Known)

Carella, Byrne, Cecchi, Olstein, Brody & Agnello, 5 Becker Farm Road,
Roseland, N e w Jersey 07068
 II. BASIS O F J U R I S D I C T I O N                                      (Place an "X" in One Box Only)                                   HI. C I T I Z E N S H I P OF P R I N C I P A L P A R T I E S ( P l a c e                                  an " X " in One Box for Plaintiff
                                                                                                                                                          (For Diversity Cases Only)                                                              and One Box for Defendant)
•     I      U S Government                               10 3 Federal Question                                                                                                                  PTF          DEF                                                    PTF       DEF
                Plaintiff                                        (U.S. Government Not a Party)                                                      Citizen of This State                        O 1          •   i          Incorporated or Principal Place          •  4     O 4
                                                                                                                                                                                                                             of Business In This State

 ""12        U S Go\emment                                O 4        Diversity                                                                      Citizen of Another Stale                     O     2       O      2      Incorporated ami Principal Place                      0     5       O     5
                Defendant                                                                                                                                                                                                       of Business In Another State
                                                                        (Indicate Citizenship of Parties in Item III)

                                                                                                                                                    Citizen or Subject of a                      O     3       O      3      Foreign Nation                                        • 6           • 6
                                                                                                                                                      Foreign Country
 IVJVATIJREOFSI^^
               CONTRACT                                                                      TORTS                                                  FORFEITIRE/PENALTY                                             BANKRUPTCY                                      OTHER STATl'TES
 •    110 Insurance                                     P E R S O N A L INJURY                             P E R S O N A L INJURY                   O     610 Agriculture                              O 422 Appeal 28 USC 158                           O  400 State Reapportionment
 •    120 Marine                                      O 310 Airplane                                  G     362 Personal Injury -                   O     620 Other Food & Drug                        O 423 Withdrawal                                  •  410 Antitrust
 •    130 Miller Act                                  D 315 Airplane Product                                    Med Malpractice                     O     625 Drug Related Seizure                          28 USC 157                                   O  430 Banks and Banking
 O    140 Negotiable Instrument                              Liability                                O 365 Personal Injury -                                of Property 21 USC 881                                                                      O  450 Commerce
 O    150 Recovery o f O v e r p a y m ent            •  320 Assault, Libel &                                   Product Liability                   •     630 Liquor Laws                                P R O P E R T Y RIGHTS                          •  460 Deportation
         & Enforcement of Judgment                           Slander                                  •    368 Asbestos Personal                    •     640 R R & Truck                              O 820 Copynghts                                   •  470 Racketeer influenced and
 O    151 Medicare Act                                •  330 Federal Employers'                                 Injury Product                      O     650 Airline Regs                             O 830 Patent                                            Comipt Organizations
 •    152 Recover) of Defaulted                              Liability                                          Liability                           •     660 Occupational                             • 840 Trademark                                   •  480 Consumer Credit
         Student Loans                                •  340 M a n n e                                  P E R S O N A L PROPERTY                             Safety Health                                                                               •  490 Cable Sat TV
         (Excl Veterans)                              •  345 M a n n e Product                        O 370 Other Fraud                             O     690 Other                                                                                      •  810 Selective Service
 •    153 Recovery o f O v e r p a y m e n t                 Liability                                O 371 Truth in Lending                                      LABOR                                     S O C I A L SECURITY                         O 850 Secunties Commodities
          of Veteran's Benefits                       D 350 Motor Vehicle                             D 380 Other Personal                          O     710 Fair Labor Standards                     •    861 HIA (1395fT)                                   Exchange
  •   160 Stockholders'Suits                          •  355 Motor Vehicle                                      Property Damage                              Act                                       O    862 Black Lung (923)                         •  875 Customer Challenge
 O    190 Other Contract                                      Product Liability                       O 385 Property Damage                         O     720 Labor/Mgmt Relations                     •    863 DIWC/D1WW (405(g))                              12 USC 3410
 O    195 Contract Product Liability                  •  360 Other Personal                                     Product Liability                   O     730 Labor/Mgmt Reporting                     •    864 SSID Title XVI                           S3 890 Other Statutory Actions
 O    196 Franchise                                           Inniry                                                                                         &. Disclosure Act                         D    865 RSI (405(g))                             •  891 Agricultural Acts
I       REAL PROPERTY                                       CIVIL R I G H T S                  P R I S O N E R PETITIONS                            O     740 Railway Labor Act                             F E D E R A L TAX SUITS                      O 892 Economic Stabilization Act
  O   210 Land Condemnation                           •  441 Voting                          O 510 Motions to Vacate                                O     790 Other Labor Litigation                   •    870 Taxes ( U S Plaintiff                    O 893 Env ironmental Matters
  O   220 Foreclosure                                 •      442 Employment                            Sentence                                     O     791 Empl Ret Inc                                      or Defendant)                            •  894 Energy Allocation Act
  D   230 Rent Lease & Ejectment                      •      443 Housing.                         Habeas Corpus:                                              Secunty Act                              •    871 IRS—Third Party                          O 895 Freedom of Infonnation
 • 240 Torts to Land                                              Accommodations             O 530 General                                                                                                      26 USC 7609                                     Act
 O 245 Tort Product Liability                         •      444 Welfare                     •    535 Death Penalty                                                                                                                                      D 900Appeal of Fee Determination
 • 290 All Other Real Property                        O      445 Amer w Disabilities - O 540 Mandamus & Other                                                                                                                                                   Under Equal Access
                                                                  Employment                 •    550 Civil Rights                                                                                                                                              to Justice
                                                      •      4 4 6 A m e r vv Disabilities - O 555 Prison Condition                                                                                                                                      •  950 Constitutionality of
                                                                  Other                                                                                                                                                                                         State Statutes
                                                      O      440 Other Civil Rights


 v . ORIGIN                                (Pkicc an X" m One Box Only)                                                                                                                                                                                                        A p p e a l to D i s t r i c t
 S 1         Original                 • 2         R e m o v e d Irom                   •       3     Remanded from
                                                                                                                                         •      4   Reinstated or
                                                                                                                                                                              •       5    Transferred from
                                                                                                                                                                                           another district                   • 6      Multidistrict
                                                                                                                                                                                                                                                                  i-n    -j    Juage from
                                                                                                                                                                                                                                                                               Magistrate
             Procecdma                            State Court                                        Anocllate Court                                Reopened                               (specify 1                                  Litigation                              Judgment



 VI. C A U S E O F A C T I O N
                                                                    iWVl . sec.        Civil                 u n d e r w h i c h y o u a r e filing ( D o n o t c i t e j u r i s d i c t i o n a l s t a t u t e s u n l e s s d i v e r s i t y )


                                                                Brief description of cause
                                                                 This is a claim relating to defective automobiles
 VII.        R E Q U E S T E D                IN                0      C H E C K IF T H I S IS A C L A S S A C T I O N                                   DEMAND S                                                         C H E C K . Y E S o n l y if d e m a n d e d in c o m p l a i n t

            COMPLAINT:                                                  UNDER F R C P                 23                                                                                                                  JURY DEMAND;                            3) Yes            •    No

 VIII. R E L A T E D C A S E ( S )
                                                                     (See instructions)
       IF A N Y                                                                                       JUDGE                                                                                                  DOCKET NUMBER

 DATE                                                                                                        S I G N A T U R E 0!i        J T O R N E Y OF R E C O R D

      05/13/2016
                                                                                                                                                                 LLI
    FOR OFFICE I S E O N L V
                                                                                                                                                                                              W
      RECEIPT//                                    AMOUNT                                                       APPLYINCVIFJ                                                         JUDGE                                              MAG JUDGE
